                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


   UNITED STATES,                ) No. 3:16-CR-20
      Plaintiff-Respondent,      )
                                 ) Before U.S. District Court
   v.                            ) Judge Curtis L. Collier
                                 )
   MARK HAZELWOOD,               )
       Defendant-Movant.         )
   _____________________________ )


                                       NOTICE OF APPEAL


       Notice is hereby given that Defendant Mark Hazelwood appeals to the United States Court

   of Appeals for the Sixth Circuit from:

         the Judgment announced orally on September 26, 2018, and to be entered at a later date;

         the ruling announced on September 26, 2018, denying Defendant’s Motion for Release

          Pending Appeal (R. 702);

         the Order entered September 21, 2018, denying Defendant’s Motion for a New Trial (R.

          700), and related motions;

         the Order entered January 29, 2018, denying Defendant’s Motion to Reconsider

          Admission of Government Exhibits 529, 530 and 531 (R. 455); and

       all other rulings and orders entered in this proceeding leading up to, part of, or intertwined

   with, the Judgment.



   Dated: September 27, 2018                             Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

          I certify that the forgoing document was electronically filed on September 27, 2018,

   Notice of this filing was sent by operation of the Court’s electronic filing system to all parties

   indicated on the electronic filing receipt.

                                                         ____s/Bradley L. Henry___




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